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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

LIMA ONE CAPITAL SPECIAL                    )
SERVICING, INC., a Delaware                 )
corporation,                                )
                                            ) CIVIL ACTION FILE NO.
       Plaintiff,                           )
                                            ) 1:18-CV-04070-MLB
v.                                          )
                                            )
E.S. REAL ESTATE CONSORTIUM,                )
CORP., et al.                               )
                                            )
       Defendants.                          )
                                            )

 DEFENDANTS E.S. REAL ESTATE CONSORTIUM, CORPORATION
 AND ANEAKA ENGLISH’S REPLY TO PLAINTIFF’S RESPONSE TO
 DEFENDANTS E.S. REAL ESTATE CONSORTIUM, CORPORATION
   AND ANEAKA ENGLISH’ EMERGENCY MOTION TO DENY OR
 DEFER CONSIDERATION OF PLAINTIFF’S PARTIAL MOTION FOR
    SUMMARY JUDGMENT AND MEMORANDUM IN SUPPORT

      COME NOW, Defendants E.S. Real Estate Consortium, Corp. (“ESREC”)

and Aneaka English (“English”)(collectively, “Defendants”), by and through their

undersigned counsel, and pursuant to Local Rule 7.2(B) and Fed. R. Civ. P. Rule

56(d) hereby file this Reply to Plaintiff’s Response to Defendants’ Emergency

Motion to Deny or Defer Consideration of Plaintiff’s Partial Motion for Summary
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Judgment (“Motion”), seeking the Court’s denial or deferment of the Plaintiff’s

premature Partial Motion for Summary Judgment, and showing the Court as follows:

                        Argument & Citation to Authority

A.    Plaintiff Fails to Disclose Lima One’s Members:

      Plaintiff inappropriately accuses Defendants of stalling litigation, when, for

over five months, Plaintiff has refused and continues to refuse to disclose the

members of assignee Lima One Capital, LLC (“Lima One”). Plaintiff alleged in the

Complaint that “Lima One assigned its rights to any cause of action arising from this

transaction to Plaintiff.” [Doc. 1], ¶ 31. Indeed, the Standing Order explicitly

requires “[f]or a limited liability company (“LLC”), or other unincorporated entity,

the plaintiff or removing defendant must list each member of the LLC ….” [Doc.

4], p. 2. Instead, Plaintiff provided an incomplete disclosure list of interested parties

– Lima One Capital Special Servicing, Inc. and Lima One Capital, LLC. [Doc. 2],

p. 2. At their first opportunity to file a responsive pleading, Defendants raised the

issue of subject matter jurisdiction in their Motion to Dismiss, alleging that the Court

lacks both federal question and diversity jurisdiction. [Doc. 9], pp. 3-8.

      To this day, Plaintiff refuses to disclose three of Lima One’s members. Rather

than allow Defendants time to conduct discovery regarding Lima One’s

membership, Plaintiff expects Defendants to blindly trust that “to the best of

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Plaintiff’s knowledge, its assignor is not a Georgia citizen for purposes of this

action.” [Doc. 11], p. 3. Discovery is necessary “to provide a mechanism for making

relevant information available to the litigants.” Lozano v. Maryland Cas. Co., 850

F.2d 1470, 1473 (11th Cir. 1988).          Plaintiff’s refusal to disclose threshold

information related to the Court’s jurisdiction over this matter increases the necessity

for discovery prior to a ruling on the Partial Motion for Summary Judgment.

B.    Defendants Have Not Filed Their Defenses to the Claims:

      Defendants are not required to file an answer and/or affirmative defenses to

the Complaint unless the Court denies the Motion to Dismiss. Fed. R. Civ. P.

12(a)(4). Thus, it is inappropriate for Plaintiff to assert that “[Defendants] have no

defenses to [Plaintiff’s] claim” when the Federal Rules of Civil Procedure do not yet

require Defendants to file any. Id.; [Doc. 34], p. 7.

C.    Plaintiff Cannot Deprive Defendants of Discovery:

      Despite its attempt to do so in Plaintiff’s Response to Defendants E.S. Real

Estate Consortium, Inc. and Aneaka English’s Emergency Motion to Deny or Defer

Consideration of Plaintiff’s Partial Motion for Summary and Memorandum in

Support (“Response”), Plaintiff holds no authority to deprive Defendants of

discovery, as Defendants have “show[n] by affidavit or declaration that, for specific

reasons, [they] cannot present facts essential to justify [their] opposition [to the

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Motion for Summary Judgment]….”             Fed. R. Civ. P. 56(d).        Defendants

demonstrated, through the Declaration of Kevin L. Ward (“Ward Dec.”), a few of

the topics on which they need to conduct discovery in order to respond to the Partial

Motion for Summary Judgment. [Doc. 33-2]           Defendants’ necessity to conduct

discovery related to the claim and defenses is not negated by Plaintiff’s opinion that

“[u]njust enrichment is a simple concept.” [Doc. 34], p. 6.

      WHEREFORE, Defendants respectfully request that this Court deny

Plaintiff’s Partial Motion for Summary Judgment; or, in the alternative, this Court

should defer consideration of Plaintiff’s Partial Motion for Summary Judgment until

after the completion of discovery in accordance with the discovery plan the parties

are to submit following the Court’s ruling on the Motion to Dismiss. Defendants

ask that this Court consider this Motion on an expedited basis pursuant to Local Rule

7.2(B).

      Respectfully submitted, this 2nd day of April, 2019.

                                 SCHULTEN WARD TURNER & WEISS, LLP

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            CERTIFICATE OF COMPLIANCE AND SERVICE

      I hereby certify that this filing complies with the requirements of Local Rule

5.1B (Times New Roman, 14 point) and that I have this day served a copy of the

within and foregoing DEFENDANTS E.S. REAL ESTATE CONSORTIUM,

CORPORATION AND ANEAKA ENGLISH’S REPLY TO PLAINTIFF’S

RESPONSE TO DEFENDANTS E.S. REAL ESTATE CONSORTIUM, INC. AND

ANEAKA ENGLISH’S EMERGENCY MOTION TO DENY OR DEFER

CONSIDERATION OF PLAINTIFF’S PARTIAL MOTION FOR SUMMARY

JUDGMENT by electronically filing same which sends a notification of filing to

counsel of record by the CM/ECF system to:

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                                [signature on next page]

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     So certified, this 2nd day of April, 2019.

                               SCHULTEN WARD TURNER & WEISS, LLP

                               /s/ Kevin L. Ward
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